        Case 4:12-cr-00041-JM            Document 385          Filed 05/04/15       Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

UNITED STATES OF AMERICA                                                                       PLAINTIFF

v.                                       NO. 4:12CR00041-03 JLH

REBECCA LUCILLE SPRAY                                                                       DEFENDANT

                                                 ORDER

        The Court conducted a hearing on Monday, May 4, 2015, to address the pending superseding motion

to revoke supervised release. Assistant United States Attorney Angela S. Jegley was present for the

government. The defendant appeared in person with her attorney Assistant Federal Public Defender Molly

K. Sullivan. United States Probation Officer William Fennell was also present.

        Upon inquiry from the Court, the defendant admitted being dismissed from the City of Faith program

and admitted to the April 17, 2015, positive drug test. Following statements from counsel and the defendant,

the Court found that the superseding motion to revoke should be DENIED, and instead determined that

defendant’s current conditions of supervised release should be modified. Document #383.

        IT IS THEREFORE ORDERED that defendant Rebecca Lucille Spray’s conditions of supervised

release are hereby modified to include the following:

        •       The defendant must participate in and successfully complete an in-patient substance abuse
                treatment program under the direction of the United States Probation Office for a period of
                time to be determined.

        •       Upon successful completion of the in-patient substance abuse treatment program, defendant
                may be required to enter a chemical-free living program as directed by the United States
                Probation Office.

        All other conditions of supervised release remain in full force and effect as previously imposed.

        IT IS SO ORDERED this 4th day of May, 2015.


                                                          ____________________________________
                                                          J. LEON HOLMES
                                                          UNITED STATES DISTRICT JUDGE
